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EXHIBIT 10
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Mackey, Edward MD (Smith prescriber} 5/23/2007 8:40:00 AM

 

 

 

 

- 3
Inre: NEVJRONTIN MDL Docket No. 1629 1
2 It is further stipulated and
MARKETING, SALES Master File No. 3 agreed that it shall not be necessary for any
4 objections to be made by counsel to any
PRACTICES and PRODUCTS 04-10981 . :
5 questions, except as to form or leading
LIABILITY LITIGATION Judge Patti 8. Saris & questions, and that counsel for the parties may
7 make objections and assign grounds at the time
Magistrate Judge 8 of the trial, or at the time said deposition is
9 offered in evidence, or prior thereto.
Leo T, Sorokin 10
41
RUTH SMITH, 12
13
Plaintiff, CG. A. No, 05-11515 44
Vv. 15
16
PFIZER, INC., et al. 7
18
Defendants. 419
20
Videotaped Deposition of: 24
22
EDWARD MACKEY, M.D.
23
Wednesday, May 23, 2007 24
25
2 4
4 4 APPEARANCES:
2 For the Plaintiff:
2 STIPULATIONS ANDREW G. FINKELSTEIN
se att 3 KEITH ALTMAN
3 Itis stipulated and agreed, ay Finkelstein & Partners
4 and between the parties through their : iewburgn New York 12550
: : 121
5 respective counsel, that the videotaped 5 sinha eteingpiawampm.com
as . -and-
6 deposition of: W. MARK LANIER
7 EDWARG MACKEY, M.D., may be 7 ROBERT LEONE
DARA HEGAR
8 taken before Fred W. Jeske, court reporter and a PATRICK O'HARA
- The Lanier Law Finn
9 Tennessee Notary Public, at the offices of 3 6810 FM 1960 West
10 Miller & Martin, 1200 US Bank Tower, 150 Fourth 10 Bouse, boxes TCs
411. Avenue, North, Nashville, Tennessee, on 1 (713) 689-5200 77269-1448
12. Wednesday, May 23, 2007, commencing at 42 wmi@lanierlawfirm.com
i . For the Defendant Pfizer:
13° approximately 8:40 a.m. 13 KENNETH J FERGUSON
14 It is further stipulated and CEDRIC E. EVANS
14 Clark, Thomas & Winters
15 agreed that the signature to and reading of the 300 West 6th Street, 15th Floor
te : . . 15 Austin, Texas 78701
16 deposition by the witness is waived, the P.O. Box 1148
17 deposition to have the same force and effect as 16 pazsamno OF
18 if full compliance had been had with all laws 1 Forte wines
18  andrules of Court relating to the taking of 19 Miler & idarin tert
20 «od itions. 1 one Nashville Place
epesmons 20. 150 Fourth Avenue North
21 Nashville, Tennessee 37219
21 (615) 744-8503
22 22 nstahl@millermartin.com
23 04 Also present:
24 Jonathan Wilkerson, law clerk
25 24 Sheldon Singh, videographer
25 -00o-

 

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4 an idea it was, you know, regardless of his -- 1 Q. Okay. . .
2 talked about the non-union at 4-5, but he 2 &. Heis acolleague of mine that we

3s really did not have any significant stenosis 3 collaborate a lot on, particulary on more

4 based on the myelogram CT. And so part of what ‘4 complex patients.

§ we might have been dealing with was just nerve 5  @. — Is that Or. Howell?

6 damage. And that will not gat better with more 6 A. Yes.

7 surgery. 7 @. And do you know if Mr. Smith ever saw
a And at that point 1 wanted to 8 Dr. Howell?

9 get him to see one of the neurosurgeons | work 9 A. [know an appointment was made, and |
10 with to see what his thoughts were. 30s received a latter on March 31st, 2004, where he
11. @. And when you discussed surgery with 41. did not show up for that appointment.

12. them, you discussed a number of differant 12° Q. - So an appointment was made and, for
13 options; correct? 13° whatever reason, Mr. Smith did not go to that
14 AL I aid. 14 = appointment; correct?

15 Q. Okay. Including a lumbar, lumbar 15 <A. That's correct.

46 laminectomy and fusion, which had already been 16 Q. So, to your knowledge, he never saw Dr.
1? ~~ performed. This would be a redo; correct? 17 Howell, at least as far as you know.

18 =A, It would be, And this time | would 18 A. As farasl know, no.

19 recommend that we use pedicle screws and either 18 But | will also add, this is a

20 = a zone graft or bone -- BMP to do something 20 ~— form letter they send out if -- you know, if |

21 differant than had been done the first time. 21 ~~ missed an appointment with them, | would get
22 =. Did you communicate to the family that 22 this letter.

23° day that you did or did not think that surgery 23 QQ. The discussions we just talked about

24° was, was a good option for him at that time, 24—sowith regard to surgery, did that all take placa
25 given the entire circumstances? 25 — in the examining room, -

38 60

1 A. | was ambivalent about it. You have to 1 A. Yeah.

2 respect the patient's pain. That's why they 2 Q. - if you recall?

3. cometosee you. That that's why all the -- 3 In your nate of March 9th you

4 ali my patients come to see me, is because they 4s note that Mr. Smith's daughter raised a concern
5 hurt. And so he, he was, he was hurting, § about whether or not there are some other

6 hurting a lot, and surgery, though, would have, 6 issues going on. And | think | quoted that.

¥ based on the studies, had probably a fairly low 7 Can you teil us what

8 yield. You know, you're not looking at marked 8 conversation took place in that regard,

9 stenosis or severe disc herniations, as such. 9 regarding other issues going on?

10 Soa- and also his age. So it wasn't claar 10 A. That particular conversation did not

11. whether all his pain was just neur — 11 occur in the room.

12 neuropathy, nerve damage, or a component of 12 Q. Okay.

13. that, plus non-union. 13. A. My recollection of that was that she

14 But again we come back to the 14 pulled me aside as they had left or were

15 studies that have shown that, that 15 leaving, and brought that up. And, as |

16 non-instrumented fusion gets a -- probably a 16 recall, | think we made an appointment for him
17 40 -ora very low success rate in terms of 1? ~=tosee Or. West, but I’m not positive about

18 fusion but a fairty high success rate in terms 18 that.

19 of clinical outcome. 19 ©. And Or. West is what kind of doctor?

20 Sa, again, just because he had a 20 A. Psychiatrist.
21 non-union did not make it a slam dunk that he 21 & Can you recall specifically in any more
22 ~~ would do well with an operation. 22 ~~ detail what, what the daughter told you?
23° 4 Q. You wanted him to see a neurosurgeon in 23. «A. No.
24 your office; correct? 24 G Okay.
25 A. Heis not in my office. 25 =A. Just thal she was worried about

 

 

 

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1 A. No. Not that I'm aware of. Not that! 1 replacement and the knee work, talked about
2 recall. 2 the, the laminectomy anc fusion dene by another
3. Q. Okay. 3. doctor. Remember?

4 MR. FERGUSON: | think that's 4° AL Yes.

5 all | have for now, Doctor. Thank you very § Q. Str, inall of the review for that

6 much, 6 — eight-year history of serious medical treatment
7 THE WITNESS: All right. 7 and pain, was there ever any indication during
a MR. LANIER: You know, he did 8 all eight years when his hip’s hurtin’ him, he

9 better on ime than | thought he was going $ gets a hip replacement, he’s recovered from a
40 to. | got to give it to you. 10 hip replacement, his right knee, he gets the

11 MR. FERGUSON: Appreciate it. 11. work, he's recovering; his left knee, he gets

12 REDIRECT EXAMINATION 12. the work; the low back, ha gets the

13. BY MR. LANIER: 13. laminectomy, he gets the fusion, he starts

14. Q. | want to go back through some 14 recovering. Is there any indication in all

15 questions that ware just asked of you and make 15 eight years of all of that medical treatment

16 = sure | understand some of the answers, okay? © 16 that he ever one time contemplated suicide or,
? You were first asked, is it true 17 — or tried to commit suicide?

18 ‘that you decide how to treat patients and 18 A. 1--the records | really had available

19 nabady tells you hew to do it. Do you remember 19 ta me were Or. Shell's and mine, even though he
20 those questions? 20 = had Seen Stewart Stowers and Gene Regen,
2+) A. Yes, | da remember that question, 21 they're in my office but differant location.

22 Q. Let me understand how you de this, 22 So that chart is not part of my chant. That

23 = please. You certainly are the doctor, and you 23 ~~ being said, | was not aware of any issue, what
24s make your recommendations, is that fair to 24 -—syou're describing, at all.

25 say? 25 @. | mean these were painful

94 96

1° AL Yes. 1 procedures, and obviously they're done because
2 Q. When you treat patients, though, don't 2 pain already exists, is that fair {o say?

3s you do it in conjunction with the patient? 3° A OYes.

4 AL Yes. 4 Q. iwould assume you operate on people

5 Q. Andso you sit down with the patients 5 avery week. Probably several days a week,

6 and you tell them the risks that you know & = don't you?

7 about, on drugs, for example? 7 A. Yes.

& A. Yes. & QQ. And most everybody you operate on,

8 @. And you tall them the possible 9 s-you're operating on them because they're

10 benefits, is that fair to say? 10 hurting; right?

41° A Yes. 11. A. ss It's almost universally about pain.

42 Q. And then the patients can make an 12 Q. Well, do most of those people kill

43° informed choice with the help of you, their 13. themselves over the pain?

14 physician, on what course of treatment, is that 14 A, No.

165 fair? 15 . Next area: You have a note in there,

16 AL Yes. 16 worried about dementia, and when you talked
17. Q. Now, before you can even have this 17 about that note you said forgetfulness. You

18 conversation with your patients, is it 18 weren't sure if you used the word dementia or
18 important that drug companies inform you about 19 if the daughter did. What is it you were
20 ‘their drugs and what they know are problems 20 = communicating when you made that note in the
21 ~~ with them? 21 file?
22 =A. [think that's a fair expectation. 22 =A. The -- that she had some concerns that
23° Q. Okay. Next area: Mr. Smith had seen 23° he was forgetful or —
24 other doctors in your clinic. You taiked about 24 Q. Gld-timer's disease?
25 reading through his chart and seeing the hip 25 A. Forlack of a better term. And, you

 

 

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